Case 2:05-md-01657-EEF-DEK

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HAZEL L. BAKER, et al.,
Plaintiffs,

v.

MERCK & CO., INC., et al.,

Defendants.

IN THE UNITED STATES
DISTRICT COURT FOR THE
EASTERN DISTRICT OF LOUISIANA

Case Code Number: 1657
CASE NO. 2:06-cv-06436-EEF-DEK
STIPULATION OF DISMISSAL

WITH PREJUDICE AS TO
ALL DEFENDANTS

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Pursuant to Rule 41, Fed.R.Civ.P., the undersigned counsel hereby stipulate

that all claims of plaintiffs, LAQUINTA PINKSTON and CHAUNCY PINKSTON,

against defendant Merck & Co., Inc. and all other named defendants be dismissed in their

entirety with prejudice, each party to bear its own costs.

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CERTIFICATE OF SERVICE

I hereby certify that the above and foregoing Stipulation of Dismissal With

Prejudice as to All Defendants has been served on Liaison Counsel, Russ Herman and Phillip

Wittmann, by U.S. Mail and e-mail or by hand delivery and e-mail and upon all parties by

electronically uploading the same to LexisNexis File & Serve Advanced in accordance with Pre-

Trial Order No. 8B, and that the foregoing was electronically filed with the Clerk of Court of the

United States District Court for the Eastern District of Louisiana by using the CM/ECF system

which will send a Notice of Electronic Filing in accord with the procedures established in MDL

1657, on this 16th day of November, 2010.

/s/ Stephen G. Strauss

Stephen G. Strauss

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